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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7

                                   8        SIMPSON STRONG-TIE COMPANY                       Case No. 20-cv-06957-VKD
                                            INC.,
                                   9                       Plaintiff,                        ORDER RE MOTIONS IN LIMINE
                                  10                 v.                                      Re: Dkt. Nos. 117, 124
                                  11
                                            MITEK INC.,
                                  12
Northern District of California




                                                           Defendant.
 United States District Court




                                  13

                                  14
                                                This order resolves the parties’ motions in limine. Dkt. Nos. 117, 124.
                                  15
                                       I.       SIMPSON’S MOTIONS IN LIMINE
                                  16
                                                A.        Motion in Limine No. 1 – Other Disputes
                                  17
                                                Simpson moves to exclude references at trial to other current disputes or legal proceedings
                                  18
                                       in which the parties are adversaries. Dkt. No. 117 at 3. Simpson contends that reference to other
                                  19
                                       pending disputes is irrelevant to the issues in this case, that such a reference would be inadmissible
                                  20
                                       hearsay, and that the probative value of any such reference would be outweighed by a danger of
                                  21
                                       confusing the issues, causing undue delay, wasting time or presenting cumulative evidence. Id.
                                  22
                                       MiTek argues that if Simpson attempts to portray MiTek as a purveyor of “knock-offs” of
                                  23
                                       competing Simpson products, MiTek should be able to refer to these other proceedings to the
                                  24
                                       extent they tend to show that MiTek is an innovator. Dkt. No. 124 at 3.
                                  25
                                                The Court does not expect that evidence about the parties’ other disputes or legal
                                  26
                                       proceedings will be relevant to any matter in dispute in this case, but will reserve a decision on
                                  27
                                       any such evidence offered by MiTek until trial. This motion is denied without prejudice.
                                  28
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                                               B.     Motion in Limine No. 2 – Crumley Testimony
                                   1
                                               Simpson moves for an order precluding MiTek from calling Harvel Crumley, the founder
                                   2
                                       and CEO of non-party QuickTie Products, Inc. (“QTP”), as a witness at trial on the ground that
                                   3
                                       MiTek failed to disclose Mr. Crumley as required under Rule 26(a)(1)(A)(i). Dkt. No. 117 at 2.
                                   4
                                       MiTek responds that it disclosed QTP as an entity under Rule 26(a), and that Simpson was on
                                   5
                                       notice that QTP would likely elect to have Mr. Crumley testify on its behalf at trial. Dkt. No. 124
                                   6
                                       at 5.
                                   7
                                               The motion is granted.
                                   8
                                               Rule 26(a)(1)(A)(i) requires disclosure of the “the name . . . of each individual likely to
                                   9
                                       have discoverable information . . . that the disclosing party may use to support its claims or
                                  10
                                       defenses, unless the use would be solely for impeachment.” Fed. R. Civ. P. 26(a)(1)(A). The
                                  11
                                       disclosing party must “supplement or correct its disclosure . . . in a timely manner if the party
                                  12
Northern District of California




                                       learns that in some material respect the disclosure . . . is incomplete or incorrect, and if the
 United States District Court




                                  13
                                       additional or corrective information has not otherwise been made known to the other parties
                                  14
                                       during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A). “If a party fails to . . .
                                  15
                                       identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that information
                                  16
                                       at trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).
                                  17
                                               Here, MiTek identified QTP, but not an individual witness, in its initial disclosures. Dkt.
                                  18
                                       No. 118-1 at 4. Simpson noticed QTP’s deposition under Rule 30(b)(6), and QTP designated
                                  19
                                       Chris Mellott to testify on its behalf. Dkt. No. 118 ¶ 4. Simpson took Mr. Mellott’s deposition as
                                  20
                                       a corporate representative and did not depose any other QTP witnesses. Dkt. No. 117 at 5.
                                  21
                                       During the deposition, Mr. Mellott testified that Mr. Crumley “likely” would provide testimony at
                                  22
                                       trial. Dkt. No. 134 at 32:1-4 (“Q. In terms of actually testifying in the trial in this case, who, from
                                  23
                                       QuickTie Products, would be providing that testimony? A. It’s likely Harvel Crumley.”).
                                  24
                                       Apparently, QTP has now elected to have Mr. Crumley testify at trial. Dkt. No. 125 at 12. MiTek
                                  25
                                       did not supplement or correct its Rule 26(a) disclosures to identify Mr. Crumley as an individual
                                  26
                                       likely to have discoverable information that MiTek may use to support its claims or defenses, nor
                                  27
                                       did MiTek otherwise advise Simpson that it would call Mr. Crumley to testify at trial instead of
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                                   1   Mr. Mellott. Dkt. No. 117 at 5. Simpson says that it will be prejudiced if the Court permits Mr.

                                   2   Crumley to testify at trial because it did not know he would testify at trial and so did not take his

                                   3   deposition. Id. at 4. MiTek responds that Simpson should have been and was in fact on notice

                                   4   that Mr. Crumley likely would testify at trial based on Mr. Mellott’s statement during the

                                   5   deposition. Dkt. No. 124 at 5. In addition, MiTek argues that Simpson will not be prejudiced by

                                   6   Mr. Crumley testifying on behalf of QTP instead of Mr. Mellott because Mr. Crumley is bound by

                                   7   Mr. Mellott’s prior deposition testimony as a corporate representative and can be cross-examined

                                   8   based on that prior deposition testimony. Id.

                                   9          While identifying a corporate entity may satisfy a party’s initial disclosure obligation

                                  10   under Rule 26(a)(1)(A)(i), once the disclosing party knows the name of the individual witness

                                  11   whom it may or will use to support its claims or defenses, it has an obligation to supplement its

                                  12   initial disclosure to identify that witness. MiTek did not identify Mr. Crumley as such a witness.
Northern District of California
 United States District Court




                                  13   MiTek may not defer to, or rely upon, a third party’s election to voluntarily produce one witness in

                                  14   lieu of another to testify at trial; Rule 26(a) places the disclosure obligation squarely on the party.

                                  15   The Court is not persuaded that MiTek’s failure to supplement or correct its initial disclosures

                                  16   before identifying Mr. Crumley as a trial witness was substantially justified. More importantly,

                                  17   MiTek’s failure to timely disclose Mr. Crumley was not harmless, as Simpson did not have fair

                                  18   notice that Mr. Crumley would testify at trial, and therefore did not take his deposition. Indeed,

                                  19   during the hearing on the motion, MiTek indicated that it expects Mr. Crumley to testify about

                                  20   matters that Mr. Mellott did not testify about in his deposition, although MiTek contends that these

                                  21   matters are within the scope of MiTek’s initial disclosures regarding the subject matter known to

                                  22   QTP and Simpson could have questioned Mr. Mellott about them. Dkt. No. 132.

                                  23          MiTek may not call Mr. Crumley to testify at trial. MiTek may call Mr. Mellott to testify

                                  24   instead of Mr. Crumley, or it may present Mr. Mellott’s prior deposition testimony on behalf of

                                  25   QTP. If MiTek elects to use Mr. Mellott’s deposition testimony, it must disclose deposition

                                  26   designations to Simpson by January 30, 2023 at 5:00 p.m. Simpson must disclose any

                                  27   objections or counter-designations to MiTek by February 1, 2023 at 5:00 p.m. The parties shall

                                  28   jointly file deposition designations, objections, and counter-designations for Mr. Mellott by
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                                   1   February 3, 2023 at 12:00 p.m.

                                   2          IT IS SO ORDERED.

                                   3   Dated: January 27, 2023

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                                                                                     VIRGINIA K. DEMARCHI
                                   6                                                 United States Magistrate Judge
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Northern District of California
 United States District Court




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